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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK




                                                                    Civil Action No.
   GERALD HAYDEN,                                                  _______________

                                                                     COMPLAINT
       Plaintiff,
                                                            DEMAND FOR JURY TRIAL
       v.


   INTERNATIONAL BUSINESS
   MACHINES CORPORATON, PABLO
   SUAREZ and SHANKER
   RAMAMURTHY,


       Defendants.




       Plaintiff Gerald Hayden (“Plaintiff” or “Hayden”) files this action against Defendants

International Business Machines Corporation (“IBM”), Pablo Suarez, and Shanker Ramamurthy

(collectively, “Defendants” or “Individual Defendants,” as appropriate) for theft of trade secrets

and intellectual property in violation of 18 U.S.C. § 1831, et seq. (the “Defend Trade Secrets

Act”), trade secret misappropriation, breach of contract, violation of the covenant of good faith

and fair dealing, unjust enrichment, tortious interference with prospective economic advantage,

and unlawful and retaliatory discharge. Plaintiff seeks a declaratory judgment, an injunction, and

compensatory and punitive damages, including but not limited to a share of profits from IBM’s

Hybrid Cloud, Cloud Pack 4 Data, Business Process Platform, Promontory Integrated Risk and

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Compliance, IBM Cognitive Enterprise, Sales Force and Consulting Services, and related

products and services developed, marketed and/or sold with Plaintiff’s intellectual property or

ideas.

         I.    INTRODUCTION

         1.    This is an action for theft of trade secrets and intellectual property by one of the

most renowned global technology companies in the world – IBM.

         2.    For decades IBM was the leader in office hardware and mainframe computing,

but despite decades of industry leadership in this segment, IBM now trails behind the likes of

Amazon, Google, Microsoft and other competing consulting firms, and struggles to remain

relevant in the technology sector.

         3.    After abandoning the personal computing (“PC”) market with the sale of Lenovo,

IBM has tried to hold itself out as the leader in Artificial Intelligence (e.g. Watson) and software

development, and since then has begun to offer cloud computing services (e.g. Hybrid Cloud) –

the services and products that are projected by experts to dominate the information technology

(“IT”) field in years to come.       But without any clear strategy or plan, IBM offered no

competitive solutions and made few inroads in these areas. Enter Gerald Hayden.

         4.    Plaintiff Gerald Hayden is a 42-year veteran of the global banking and financial

services industries. He possesses a rare combination of banking, operational, financial and

technological experience and expertise. His experience across different sectors, and intimate

knowledge of the banking industry, is unmatched. Beginning with stints at Shawmut (now Bank

of America) and MetLife, for decades Hayden worked on some of the most important financial

services platforms in the industry. He was also co-author of WebSphere at IBM in the 1990s,

and as Senior Banker of Global Financial Services for Cisco in the early 2000s, he developed


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financial service and mobile strategy solutions for Juniper Networks and Good Technology (now

Blackberry), and as a Principal of Trident Consulting, he worked for the multinational financial

institution of JPMorgan Chase and other clients in the field of business process re-engineering

and mobile strategy. Hayden also is a six-time Master Black Belt certified expert in Six Sigma,

the world’s leading methodology for improving business processes and workflows.

       5.      Employing his mastery of the intersection between banking, operations, financial

and technological platforms, Plaintiff Hayden developed over a ten-year period a revolutionary

business methodology that could become transformative for global banking and financial

services industry: Awareness to Execution (a.k.a. “A2E”), and its derivative, Efficiency,

Effectiveness, Real Time (a.k.a. “EERT”) (collectively, “A2E”).

       6.      By 2009, Plaintiff Hayden had privately developed A2E, which was reflected in a

comprehensive PowerPoint presentation and supporting materials. A2E has many details and

levels, but at its highest level, A2E permits the client to integrate work-flows across numerous

separate and siloed departments and divisions, transforming its computing systems to make near

instantaneous decisions based on real-time customer and industry data – enabling clients to move

from being reactive to proactive and predictive. A2E also helps clients market financial

offerings to their customer base in a way that is more productive and helpful, moving banking

customers from “Awareness” of a need for a product to “Execution” or purchase of the product

rapidly at the speed of markets measured by the financial, risk and compliance management

success from the Customer and up through every level of management.

       7.      Before he rejoined IBM, Plaintiff used his A2E methodology pursuant to a Non-

Disclosure Agreement (“NDA”) to develop an entirely new system for JP Morgan Mobile

Strategy, which demonstrated the value of his trade secrets to the banking and financial services


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industry, leading to the largest sale by two-fold in mobile security history at the time. In addition

to the JP Morgan engagement, Hayden used A2E on behalf of a number of other large financial

services clients prior to returning to IBM in November 2015. Each of these engagements were

pursuant to NDA’s that protected Plaintiff’s A2E trade secrets. From 2009 to 2016, Hayden

utilized A2E to gain a competitive advantage over others as a consultant in the financial services

arena. A2E enabled Hayden to stand out from other consultants in the financial services field.

       8.      In November 2015, 6 years after he had developed A2E, Plaintiff Hayden rejoined

IBM to become a member of their Global Business Solutions (“GBS”) team. Essentially,

Plaintiff was to act as a high-level consultant for IBM’s banking customers – and potential

customers – helping them move their businesses into the 21st Century.

       9.      At the start of his tenure at IBM, Plaintiff Hayden was required to engage in

several days of training on IBM policies and procedures. During this training, he and the other

trainees were told that IBM was committed to protecting trade secrets of third parties including

its own employees and that it had developed strong procedures to achieve this. Employees were

told that these policies and procedures were part of their employment agreement, including

IBM’s commitment to making the protection of trade secrets paramount, and that any IBM

employee caught using another employee’s trade secrets could be terminated. Plaintiff was also

told that he should disclose generally any trade secret or other intellectual property that he had

developed prior to coming to IBM, and that IBM would protect it and ensure that no other

employee would use it without his permission.

       10.     Plaintiff was given, during this training session, an agreement that he was directed

to sign as a condition of his employment. This agreement included a specific section where

Plaintiff could list any pre-existing intellectual property or trade secrets. Plaintiff was told that


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IBM could use any such pre-existing intellectual property or trade secrets only with Plaintiff’s

express permission. In that section of the agreement, Plaintiff Hayden listed “A2E” and “EERT”

as pre-existing intellectual property that was his own and which IBM could only use with his

express permission.

       11.     Prior to completing the agreement concerning the protection of his trade secrets

and intellectual property, Plaintiff requested and received the guidance of one of the IBM Human

Resources professionals conducting the training as to how to correctly fill out the agreement.

Plaintiff completed and executed the form exactly as instructed by IBM.

       12.     This agreement confirmed what IBM told Plaintiff during the training. During the

new employee orientation, new employees learned about IBM’s code of ethics, as well as IBM’s

practice of protecting any pre-existing employee intellectual property that was developed prior to

the employee joining IBM and without the use of IBM resources. During this training, Plaintiff

Hayden was told that if he used trade secrets during his employment on his assignments, IBM

would protect them with non-disclosure agreements and that no one would be allowed to use

those trade secrets without his permission.

       13.     Reasonably believing that his A2E trade secret was protected both by his

employment agreement with IBM and by IBM’s policies and procedures, as well as IBM’s code

of ethics, Plaintiff Hayden got to work. Specifically, his task was to seek out and obtain new

banking clients for IBM’s GBS team.

       14.     To that end, and operating under the protections of his employment agreement

and the IBM code of ethics and relying on what IBM had told him, Plaintiff Hayden presented

his A2E business methodology with IBM’s approval to a set of high level IBM executives,

including Defendants Ramamurthy and Suarez, as well as the Global Head of Strategy for IBM


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Banking and Financial Markets at IBM, Anthony Lipp; Gerald Hopkins, a leader in Integrated

Risk Management at IBM and Promontory; Bill Fuessler, a partner in IBM Global Services;

Vice-President for Cognitive and Data Analytics at IBM, Thomas Torf; Michael Henry,

Executive Consultant, Strategic Consulting, IBM Analytics; Brian Murrow, the Managing

Partner of IBM’s North America Financial Services Sector Risk & Compliance Advisory; and

Kwafo Ofori-Boateng, IBM’s Global Director of Front-Office Transformation Solutions, among

many others.

       15.     In his meetings with these and other IBM executives, Plaintiff proposed that the

use of his trade secrets to create IBM products for the banking and financial services industry

could be of tremendous value to IBM. During these presentations, Plaintiff made clear that this

was his proprietary trade secret material which he had developed prior to coming to IBM, but

that he was presenting it so that IBM senior staff could see A2E’s value and business use, and

support him in his efforts to promote A2E with potential IBM banking clients for the mutual

benefit of IBM and Plaintiff.

       16.     Specifically, if Plaintiff successfully landed a new banking customer for IBM

using A2E in his pitch, then IBM would benefit by way of increased revenues and Plaintiff

would benefit by way of substantial performance bonuses and licensing fees. Plaintiff Hayden’s

A2E would be protected by NDAs and its value preserved, as well as generating licensing fees

for A2E.

       17.     Plaintiff Hayden, however, did not realize he was swimming with sharks. Shortly

after he began meeting with several large banking customers and receiving positive feedback

from those customers regarding A2E, IBM began receiving new contracts worth tens of millions

of dollars. IBM executives immediately began to systematically cut Plaintiff Hayden out of the


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contracts he initiated, and steal A2E for their own benefit. This was accomplished by shifting all

A2E sales and development away from Plaintiff and Plaintiff’s GBS division to the Individual

Defendants’ competing divisions and/or areas. For example, the Watson Intelligence Division

was supervised by Defendant Ramamurthy, who was responsible for the Watson Platform

Strategy which did not exist. These other areas within IBM, seeing A2E’s value, incorporated

these trade secrets into their own projects, and then pursued IBM customers – all without

Plaintiff’s involvement. Such gross misconduct demonstrates IBM’s recognition of the

tremendous value of Hayden’s A2E intellectual property, and at the same time is reflective of the

craven, unethical and self-serving behavior of IBM’s most senior executives to try to

dramatically enhance their own division’s revenues, and thus their own performance bonuses,

while also helping IBM break out of its competitive disadvantage with Amazon, Google, and

Microsoft. Thus, in a concerted effort which reached the highest levels of the Company, IBM

simultaneously stripped Plaintiff of the value of his intellectual property, his client base (that

included several of the largest banks in the world), and either moved those clients over from

Plaintiff to other areas including but not limited to the Watson Division, IBM Promontory,

Hybrid Cloud, Cloud for Financial Services, Salesforce, Cognitive Enterprise and others, or

blocked Plaintiff from participating in his engagements and deprived him of any credit. IBM

thus used A2E’s value proposition to drive IBM’s claimed reinvention of itself as a leader in the

hybrid cloud computing industry and as an invaluable consultant to the financial services

industry.

       18.     To further protect and hide the theft from Plaintiff, IBM Management stopped

inviting Plaintiff to meetings of IBM’s Risk Committee and IBM’s Financial Services Patent

Committee, where he served as a member and where discussions on new initiatives and patents


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would be discussed. IBM (unknown to Plaintiff ) began forwarding all internal correspondence

to and from Plaintiff to the IBM Middle East Head of Financial Services located in the United

Arab Emirates.

       19.     To add insult to injury, after stealing Plaintiff Hayden’s proprietary A2E business

methodology and stripping him of his client base, IBM shortly thereafter terminated Plaintiff for

“lack of work.” It is hardly surprising, however, that Plaintiff Hayden had nothing to do, given

that he had no clients left after IBM’s theft of his trade secrets and client base.

       20.     Shortly after terminating Plaintiff Hayden, IBM used his trade secret A2E as the

engine to reorganize the entire company to capitalize on the competitive advantages it obtained

from A2E. Among other things, this included securing contracts from major banks, acquiring

Red Hat to provide IBM’s cloud computing infrastructure necessary for A2E to function,

entering into partnerships with Fenergo, and reorganizing Watson and Promontory to focus on

creating software that used A2E methods to drive IBM’s Hybrid Cloud business, the new IBM

Cloud Pack 4 Data, the new Business Process Platform and other technologies.

       21.     Perhaps most importantly, soon after IBM fired Plaintiff Hayden, to build its new

brand as the invaluable consultant that would revolutionize the financial services industry, IBM

intentionally released portions of A2E in the marketplace through white papers, public

presentations to IBM Partners, the press, and trade groups, and widely marketed A2E to its

global customer base, all of which disclosed crucial aspects of Plaintiff Hayden’s A2E

intellectual property. The purpose of this was twofold – first, to undermine the validity of

Plaintiff’s intellectual property claims. Second, by giving away Plaintiff’s A2E methodology it

would drive new business and new revenue to IBM’s hybrid cloud computing model, IBM

Promontory, Watson, IBM Cognitive Enterprise, Salesforce, the new IBM Cloud Pack for Data,


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and the new IBM Business Process Platform. In essence, IBM could sell new software, analytics

and/or other technologies to each customer – tailored to a customer’s specific operations, IT

infrastructure and goals using the A2E methodology – and, more importantly, sell more data

processing and hybrid cloud computing services that generate enormous revenue for IBM based

on the amounts of data processed for each customer, which would increase enormously to fulfil

A2E functionality. Indeed, shortly after being terminated by IBM, Plaintiff learned from others

in the industry who were familiar with his A2E methodology that they recognized his trade

secrets in public documents being circulated on LinkedIn. Plaintiff immediately wrote an email

protesting the use of his intellectual property to senior IBM executives and demanding they cease

and desist. However, IBM ignored these demands and those of other IBM employees who saw

what was happening and instead fired anyone who complained about the IP theft.

       22.     IBM’s strategy was as simple as it was devious: put in the public space principles

of A2E to entice financial industry customers into seeking out IBM’s help in incorporating this

revolutionary system into their own businesses. To facilitate new customers’ use of A2E, IBM

acquired open-source tech company Red Hat. By partnering with Red Hat, IBM would have the

ability to link the private clouds of various competing banking customers and other vendors

together so as to allow for the real-time exchange of customer data and enhanced near

instantaneous decision-making for bank treasury departments and every level of bank

management up through and including real time Board of Directors risk management, while

optimizing the sale of various financial products to the public at large. The Red Hat acquisition

had everything to do with taking Plaintiff’s A2E methodology and promoting it on a large scale.

       23.     IBM has taken A2E and refocused its entire Watson operation – indeed the

operations of the entire company – on its promotion and implementation within the financial


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sector as well as other industries. IBM has already made and stands to make many billions on

the back of Plaintiff Hayden’s A2E trade secret – which IBM had agreed by both contract and

through its policies and procedures and ethics code to protect and not use without Plaintiff

Hayden’s express consent.

       24.     In a transparent attempt to conceal its theft and proof of its guilty knowledge,

IBM has made deals with companies such as Red Hat and Fenergo, Salesforce and many other

vendors claiming that those companies, rather than Hayden, had developed these proprietary

trade secrets even though Plaintiff Hayden can demonstrate that he created A2E years earlier.

       25.     Plaintiff has been damaged not just by the wrongful termination of his

employment, the stripping of his client base, and the loss of substantial performance bonuses and

licensing fees based on his use of A2E for IBM customers, but also through the value that A2E’s

theft has brought to IBM (a value that he should have shared in as an IBM employee and the

owner of A2E). IBM has stolen a trade secret worth billions of dollars, and left Plaintiff and his

colleagues without employment and possessing intellectual property which has been widely

disseminated and rendered essentially valueless.

       26.     Plaintiff Hayden has been left with a worthless product to sell. IBM took A2E –

Plaintiff Hayden’s closely guarded trade secret – and simply gave it away to the masses. Even if

Plaintiff Hayden wanted to take his A2E trade secret and sell it to one of IBM’s competitors, he

couldn’t because IBM not only divulged the methodology for the world to see, but also directly

and indirectly gave the IP to competing consulting firms such as Deloitte and Accenture through

common Partners such as ServiceNow, Salesforce and many others.

       27.     Plaintiff Hayden will be able to demonstrate to the Court a clear timeline – his

creation of A2E pre-employment, his protection of A2E in his IBM employment agreement and


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through IBM’s policies and procedures and code of ethics, his protected and conditional limited

disclosure of A2E to a set of senior-level staff at IBM with the caveat that this was proprietary

material created prior to his employment with IBM and which Plaintiff Hayden had ownership

of, IBM stripping Plaintiffs’ clients and the turnover of same to various IBM divisions,

Plaintiff’s termination and, finally, IBM’s public promotion of A2E as the “next big thing” that

would drive IBM’s revenues for the foreseeable future.

       28.     As a result of IBM’s theft of trade secrets, breach of contract, wrongful

termination and related illegal acts, Plaintiff Hayden has been harmed in an amount to be

determined at trial, but which is initially valued as being well in excess of billions of dollars.

       II.     PARTIES

               A.      Plaintiff

       29.     Gerald Hayden is a financial services consultant; he worked for IBM as a Chief

Digital Officer in IBM Global Business Services. Hayden resides in Connecticut.

               B.      Defendants

       30.     IBM is a multinational technology and consulting company headquartered in

Armonk, New York with more than 350,000 employees serving clients in 170 countries. IBM

markets and sells the products that are the subject of this litigation across the world and in

interstate commerce throughout the United States.

       31.     Pablo Suarez is Vice President and Global Leader of Financial Service Sector

Centers of Competence and Digital Banking at IBM. On information and belief, Defendant

Suarez is domiciled in Canada.

       32.     Shanker Ramamurthy is Global Managing Partner for Banking. He was also

General Manager and one of IBM’s most senior level executives and was responsible for IBM

Watson Platform Strategy. On information and belief, Defendant Ramamurthy is domiciled in
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New York City.

       III.    JURISDICTION AND VENUE

       33.     This Court has subject matter jurisdiction over Plaintiff’s claims. The United

States District Courts have exclusive jurisdiction over actions brought under the Defend Trade

Secrets Act pursuant to 18 U.S.C. § 1836(c) and otherwise have jurisdiction over federal

statutory causes of action under 28 U.S.C. § 1331.

       34.     This Court has supplemental jurisdiction over Plaintiff’s state and common law

claims pursuant to 28 U.S.C. § 1367.

       35.     Pursuant to 28 U.S.C. § 1391, venue is proper in this judicial district because

Defendants IBM and Ramamurthy reside in the Southern District of New York, a substantial part

of the events and omissions giving rise to the claim occurred in the Southern District of New

York, and because Defendant IBM, the mastermind of the schemes alleged here, transacts

business within the Southern District of New York and is headquartered here.

       36.     All Defendants are subject to the general and specific jurisdiction of this Court.

       IV.     FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

               A.     Hayden’s Development of A2E

       37.     A2E is an advanced business decision making methodology that takes separate

and serial workflows from across an organization’s (or many organizations’) numerous, siloed

departments or divisions, and makes them integrated, simultaneous and real-time customer-level

executable; it is essentially a process for reorganizing and restructuring business operations and,

although conceived with a focus on banking and the delivery of financial services, is applicable

to any business or industry. EERT is a derivative of A2E; EERT is a measurement tool, used to

measure the efficacy and efficiencies achieved using the A2E methodology. A2E sets forth a


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process to integrate the workflows, and the technologies, data, applications, and related systems

that these separate and serial workflows depend upon.

       38.       Hayden developed A2E throughout the course of his career in banking and

technology. He created A2E by drawing from his experience in all sectors of banking (e.g.

operations, finance, marketing, and information technology) at Shawmut Bank, his early

consulting and software applications experience at IBM, his work as Vice President and Head of

the Financial Products Group at MetLife, his work as a Global Financial Services Principal and

most senior Banker at Cisco Systems, and as Head of Global Financial Services at the largest

Mobile Security Company in the world Good Technology (now Blackberry) and his training and

experience in Six Sigma.

       39.       By August 2009, A2E was fully developed, and Hayden drew from it regularly in

his trade as a financial services and information systems consultant; without selling, sharing or

revealing its essential concepts, Hayden used A2E to conduct his trade as a consultant on a

routine basis.

       40.       In 2014, Hayden incorporated his A2E methodology into a series of confidential

white papers that were for Customer internal use only and protected by NDA’s.

       41.       The first white paper, written in July, 2014, entitled “Treasury Management

Mobile Connect, a Benchmark Case Study Training on Achieving and Maintaining Mobile ROI

and Competitive Differentiation in Digitization Strategy,” outlines in detail the essential

components of A2E, including moving siloed business practices into integrated workflows in a

customer-centric manner, structuring operations along a continuum from “Awareness” to

“Execution” in as close to real time as possible, to meet the demand of the speed of markets, to

manage aspects of the bank’s balance sheet (including real time risk and compliance


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management) closer to real time, and to achieve mutual economic benefits for the company and

its customers. This white paper also explains EERT measurement principles to ascertain whether

efficiency was maximized using the lowest cost structure; whether effectiveness was achieved in

terms of mutual financial benefits; and whether integrated workflows are operating in real time.

          42.   The second white paper, written in August, 2014 and entitled “The WHAT, WHY

and HOW of Digital Marketplaces (and FinTech) Including Core Competency Requirements

Business Principles, and IT Architectures,” discusses the same key concepts in relation to

financial marketplaces. Its use was restricted to customers only and was also protected by

NDA’s.

          43.   In November 2015, more than a year after Hayden wrote his A2E white papers, he

rejoined IBM as a consultant in the GBS Division. Unlike his prior employers, which sold

Network Technology and Mobile Security, IBM dealt in the Application Layer, where Hayden

had the potential to generate substantial licensing fees from his A2E trade secrets and IP.

                B.     IBM’s Onboarding Process and Employee Orientation.

          44.   New hires at IBM are required to attend an extensive three-day orientation which

involves training in IBM’s internal technology, practices, procedures, guidelines and code of

ethics.

          45.   Hayden attended his on-boarding orientation in November 2015.

                     i. IBM Confidential IP Agreement

          46.   On November 2, 2015, as a condition of employment, Hayden signed a

confidentiality agreement with IBM, entitled “Agreement Regarding Confidential Information,

Intellectual Property, and Other Matters” (“Confidential IP Agreement”). This Confidential IP

Agreement explicitly identified and reserved Hayden’s right, title, and interest in certain


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intellectual property previously made or conceived of by Hayden that he was not assigning to

IBM upon employment, namely A2E, EERT and any related material.

       47.     During the three-day employee orientation, IBM assured Plaintiff that his

intellectual property would be protected pursuant to his Confidential IP Agreement and IBM’s

policies and practices, denominated IBM Business Conduct Guidelines, which establish rules

governing the protection of intellectual property and confidential information within IBM.

       48.     Plaintiff was told during the onboarding orientation that the protection of

intellectual property was a paramount concern at IBM; that IBM’s practices were intended to

protect the trade secrets of third parties including its own employees, and that an IBM employee

caught using a third party’s trade secret was subject to severe discipline and likely termination.

       49.     Plaintiff was told that, in order to protect his intellectual property or trade secrets

from unauthorized use or disclosure by other IBM employees, he should identify all written

materials reflecting such IP or trade secrets as “Confidential,” which Plaintiff did.

       50.     In particular, Plaintiff was told that no one at IBM could use his A2E intellectual

property without his express authorization. Hayden was also told that if anyone used A2E in any

work for IBM he was entitled to be involved in the transaction and receive credit for it, and that

Hayden was authorized to use A2E in work he performed for IBM.

                       ii. IBM Business Conduct Guidelines – a Code of Ethics

       51.     IBM has developed a code of ethics denominated “Business Conduct Guidelines”

(“BCGs”) designed “to provide general guidance for resolving a variety of legal and ethical

issues.” The BCGs are supposed to be grounded in IBM’s basic values, particularly “IBMers’

core Value of Trust and personal responsibility in all relationships.”




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       52.     The BCG’s emphasize that IBM and its employees are expected to “Respect

Intellectual Property Rights.”

       53.     In addition, the BCG’s specifically refer to and reinforce IBM’s employment

agreement, including its provisions “relating to intellectual property.”

                       iii.      Collaboration Rules and Credit at IBM

       54.     According to the BCG’s, IBMers are supposed to collaborate and draw from one

another’s knowledge and experience. IBMers are encouraged to work together across divisions

and disciplines to maximize the expertise and delivery of high-quality products and services

marketed to IBM’s clientele.

       55.     When IBMers collaborate, they are supposed to include each other in

communications and to give credits for individual contributions.

       56.     In particular, IBM employees are entitled to bonuses based on a percentage of the

economic value to IBM of deals for which they were responsible.

               C. Hayden Relies on his IP Agreement with IBM, IBM’s Business Conduct
                  Guidelines, and IBM’s Representations to Share His A2E IP with IBM
                  Employees, but Defendants Exclude Plaintiff from the Resulting
                  Engagements and Bonuses

       57.     Relying on the provisions of the IBM Confidential IP Agreement, IBM’s Business

Conduct Guidelines, the representations made to him during the onboarding orientation, and

IBM’s internal business practices, Hayden began to share his A2E methodology and concepts

with others at IBM.

       58.     For example, Plaintiff presented his IP to over fifty IBM Executives to align them

and gain funding, as well as to stop IBM Divisions from competing against each other,

transitioning internal IBM Department Verticals into a single Horizontal integrated effort (an

A2E initiative).

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       59.     Hayden also prepared a master slide presentation incorporating A2E to develop

new business for IBM’s GBS. The IBM version of the slide deck was generated by Hayden in

December 2015, shortly after his return to IBM, and was virtually identical to the original form

of the A2E PowerPoint that Plaintiff developed in 2009. Hayden’s master slide presentation,

which formed the core of his presentation to each IBM executive, clearly indicated that the

material contained therein was confidential and proprietary, and Hayden emphasized this at each

such presentation. In addition, Hayden made sure to inform all present that he had developed

these trade secrets over his career, and zealously protected them from being disseminated or

copied without his permission.

       60.     Plaintiff also incorporated his A2E in presentations for potential clients, including

National Australia Bank (Melbourne), DBS Bank Ltd. (Singapore), Fifth Third Bank

(Cincinnati), Ocean Bank (Miami), Mizuho Financial Group (Tokyo), Banco Bilbao Vizcaya

Argentaria (BBVA), First Rank Bank (South Africa), Equifax, and Asian Infrastructure

Investment Bank, among others. In each of these presentations, Hayden relied on his master slide

presentation and again clearly emphasized that the material contained therein was confidential

and proprietary to Hayden. Such presentations were made pursuant to written non-disclosure

agreements.

       61.     In addition, Plaintiff wrote another confidential white paper, called “Future

Financial Performance in Banking” in November of 2017, incorporating and applying the A2E

trade secrets reflected in his earlier white papers – written before his return to IBM – and the

A2E PowerPoint developed in 2009. This document was sent only to Customers under NDA’s

and only for their exclusive use.




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       62.      Working closely with several IBM colleagues, Plaintiff pursued business from

these and other leading financial institutions utilizing his A2E methodology.         Among the

colleagues with whom Hayden worked closely in pursuing this business were Steven Cohen,

Daniel Gottlieb, and Daniel Bingham.

       63.      Plaintiff and his colleagues also worked closely with AML Partners LLC (“AML

Partners”). AML Partners is a Behavioral Risk software-development and consulting firm that

specializes in helping banking and financial services clients identify customers involved in

money laundering and other illegal activities.

             i. National Australia Bank (Melbourne)

       64.      Plaintiff’s first engagement after returning to IBM was National Australia Bank

(“NAB”). NAB is a Global 20 bank.

       65.      Hayden returned to IBM in November 2015. Within a few months, Hayden had

won a deal with NAB worth $40 to $50 million. Plaintiff’s annual sales quota with IBM was

only $4 million. Plaintiff had completed 10 years worth of annual sales quotas in a few months

with his A2E IP.

       66.      This was IBM’s first strategic engagement with NAB in over 5 years.

       67.      Thus, Hayden was given an essentially “blank slate” and was simply told to go in

and get an engagement.

       68.      Plaintiff traveled to Australia where he met with 70 to 80 NAB executives.

       69.      After collecting NAB’s strategy needs and defining weaknesses or obstacles,

Plaintiff presented his findings to NAB’s CIO and Head of Data Strategy. The Head of Data

Strategy told Plaintiff: “No consulting firm has ever been able to explain this to us this way; we

are going with IBM.”


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       70.     NAB immediately chose to pursue a deal with IBM, terminating discussions with

IBM’s main competitors in the consulting space, Accenture and McKinsey, both of which have

significantly greater market share than IBM’s GBS Consulting.

       71.     The presentation that Hayden gave to NAB’s CIO and Head of Data Strategy

reflected and incorporated A2E. Many of the slides in Plaintiff’s presentation came directly

from the A2E master deck.

       72.     Hayden presented these trade secret concepts to NAB pursuant to an NDA.

       73.     Even though it was beyond the original scope of his assignment, Plaintiff also

developed a 22 page list of written recommendations for NAB. Plaintiff was told by NAB’s

Head of Data Strategy: “We are adopting every recommendation.” This would lead to a second

phase of the engagement and increase IBM’s revenues.

       74.     Once Hayden had completed his Phase 1 assignment for NAB, he started

compiling a list for the IBM Sales Team on next sales events after the Phase 1 deliverables were

finished.

       75.     However, the IBM Australian Team cut Plaintiff out of the Phase 1 deliverables

thereby coopting Hayden’s potential bonuses and to B&P Code funding for themselves. B&P

Code is an internal transfer of monies within IBM.

       76.     The IBM Australian Team did not understand A2E and the required Data

Architectures. As a result, they botched the implementation of the deal that Plaintiff had won for

IBM.

       77.     Plaintiff never received his bonus for the NAB engagement or the appropriate

months to years worth of B&P Code funding to build out the A2E Platform and set up to receive

licensing fees from IBM.


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       78.    In addition, on information and belief, the IBM Australian Team, as well as others

such as Defendant Suarez, took Plaintiff’s A2E trade secret and disclosed it to third parties

including to WestPac, another Australian bank, after Hayden had been terminated.

       ii.    DBS Bank Ltd. (Singapore)

       79.     DBS Bank Ltd. is one of the largest banks in Singapore. As was the case with

NAB, IBM had not had a strategic engagement with DBS in 5 years. Plaintiff was told by IBM’s

Singapore Partner that IBM had lost $50 million in annual revenues with DBS because IBM was

not meeting DBS’ needs.

       80.     In August 2016, Hayden presented to the entire CFO staff of DBS pursuant to an

NDA. Plaintiff’s presentation was based on and incorporated his A2E.

       81.    Immediately after Plaintiff’s presentation, Hayden was approached by the CFO of

DBS who handed Plaintiff her business card and asked Plaintiff to interview all of her direct

reports.

       82.    As requested, Plaintiff conducted the interviews over the course of the afternoon.

Based on a single afternoon of interviews, Plaintiff developed 48 major business requirements

and technology output deliverables.

       83.    Plaintiff was not permitted to engage with the client on implementation of next

steps because, if he did, the revenue would go to the United States rather than IBM’s local team

in Asia. Thus, Hayden would be due bonuses that the IBM Singapore Partner (who neither

contributed nor attended any meetings with CFO Staff to secure the engagement) would now not

receive.




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       iii.    OP Bank (Helsinki)

       84.     Plaintiff and his colleague Daniel Bingham worked directly with the CFO and

incoming CEO of OP Bank, one of the largest financial companies in Finland.

       85.     On the OP Bank engagement, Plaintiff and Bingham worked with MORS

Software, a leading global provider of integrated Treasury solutions. MORS offered a real-time

balance sheet management platform solution that IBM did not have available. Two things the

MORS Software lacked, however, were KYC Regulatory mandated architectures and Customer

Centric financial data. Hayden and Bingham fixed for these issues for MORS to make it a viable

interface to A2E Platform Architecture.

       86.     Plaintiff spent hours teaching A2E to the IBM Europe architects in connection

with the OP Bank opportunity.

       87.     Plaintiff also spent time with Keith Bear, one of the most senior executives in

IBM Europe, instructing him on A2E to gain IBM European alignment.

       88.     Both MORS and the IBM Sales Team were “98%” confident that IBM would

close the first $50 million deal with OP Bank that could lead to an eventual total sale of over $2

billion U.S. Dollars.

       89.     At the eleventh hour, IBM Helsinki decided to bring OP Bank to one of its

“Watson Days” events.

       90.     Despite protests from Plaintiff and Bingham, IBM opened up a new “Watson”

approach with OP Bank, directly competing with Plaintiff and his team.

       91.     As a result Hayden lost the OP Bank deal.

       92.     Soon afterwards, the IBM European Team began posting Plaintiff’s intellectual

property in Finnish on the Internet.


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       93.       The IBM GBS Partner saw the content and sent it to Plaintiff with a note asking,

in essence, “Isn’t this your stuff?” Although the post was later deleted, after a formal complaint

lodged with Defendant Suarez against the IBM Nordic employees by Bingham, Cohen and

Hayden, Plaintiff’s intellectual property had already been divulged to the public. Defendant

Suarez advised Plaintiff this was a very serious charge and that the IBM employees would likely

be terminated. In response, Hayden advised Defendant Suarez in writing he did not want anyone

fired, he wanted them to stop using the A2E IP without his involvement and for him to receive

proper credit.

       iv.       JP Morgan Chase

       94.       IBM knew of Plaintiff’s extensive relationships at J.P. Morgan Chase and that he

had closed the JPMC Mobile Strategy deal for Good Technology.

       95.       Bill Fuessler, the former Global Banking & Financial Markets Leader, North

America, was IBM’s Client Executive for the JPMC account. Plaintiff provided Fuessler a three

hour presentation based on his A2E. At the completion of the presentation, Fuessler told

Plaintiff: “You’re answering every question that JPMC has.” Fuessler also told Plaintiff: “We

need to get you in front of Bridget van Kralingen.” Van Kralingen was the second ranking IBM

executive and reported directly to the then-CEO and Chair of IBM, Virginia Rometty. Fuessler

then called a meeting with Defendants Suarez and Ramamurthy, Bingham, Cohen and Hayden

who requested that Defendants Suarez and Ramamurthy fund the A2E Practice and Solution,

which Defendants Suarez and Ramamurthy declined, as it became apparent soon afterwards, that

Defendants Suarez and Ramamurthy had conspired to steal the A2E IP and call it their own.

       96.       Moreover, Plaintiff was forbidden by his boss, Defendant Suarez, from

approaching JPMC.


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        97.     In addition, Defendant Ramamurthy ordered William Fuessler and Anthony Lipp

to stop engaging with Hayden or Bingham.

        98.     Shortly thereafter, the CEO of JPMC sent a letter to Rometty advising her that

IBM had been removed from JPMC’s Preferred Vendor List after more than 25 years of IBM

being on the list.

        v.      Ocean Bank (Miami)

        99.     Ocean Bank is the second biggest retail bank in Florida. IBM successfully closed

this deal due to the efforts of Hayden and Daniel Gottlieb and Bingham. However, IBM denied

credit for the Ocean Bank deal to GBS and instead awarded it to the Watson Group, then

supervised by Defendant Ramamurthy.

        100.    On information and belief, the Global Managing Director for Banking and

Financial Markets Sarah Diamond (a former Watson General Manager) directed that Watson

receive credit for the deal.

        vi.     Mizuho Financial Group (Tokyo)

        101.    Mizhuo is one of the largest banks in Japan. In early 2018, Mizhuo transmitted a

Request for Information (“RFI”) to IBM. The engagement was spearheaded by Michael Henry

of IBM’s Global Services.

        102.    Plaintiff spent Easter Weekend 2018 writing a platform strategy as a direct

response to the specific requests in the Mizhuo RFI.

        103.    However, Michael Henry was under pressure from more senior IBM executives to

sell Watson. On information and belief, this pressure came from, among others, Sarah Diamond.

        104.    The platform presentation developed by Plaintiff was never submitted to Mizhuo.




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       105.    Instead, Defendant Suarez directed Kwafo Ofori-Boateng to build Hayden’s A2E

IP into an IBM Business Process Management (“BPM”) Solution that Ofori-Boateng presented

to Mizhuo. Defendant Suarez had previously directed Plaintiff to meet with Ofori-Boateng to

instruct him concerning A2E.

       106.    Using the information developed by Plaintiff, including Plaintiff’s A2E trade

secret, Ofori-Boateng, together with Sarah Diamond and IBM CEO and Chairperson Virginia

Rometty, met with Mizuho executives in Tokyo, Japan.

       107.    Plaintiff and his team were excluded.

       108.    Also excluded was AML Partners. Plaintiff and his team had identified AML

Partners as offering the best solution to the needs identified in the Mizhuo RFI.

       109.    Plaintiff had worked with AML Partners to prepare a platform to be presented to

Mizhuo. However, shortly before the presentation, IBM executives Michael Henry and Brian

Murrow substituted Watson Financial Crimes and Compliance Group for AML Partners, even

though IBM did not have the proper Platform Solution, and excluded Plaintiff from any further

involvement while they pitched the Mizhuo deal using A2E concepts and methodology.

       110.    AML Partners had been dropped from the Mizhuo engagement after Sam

Kalyanam, Global Business Head of Watson Financial Crimes and Compliance Group and a

subordinate of Defendant Ramamurthy, wrote a multi-page e-mail proposing using Fenergo, a

direct competitor of AML Partners.

       111.    Kalyanam previously had served on Fenergo’s Growth Advisory Board

immediately prior to being recruited to Watson by Defendant Ramamurthy.




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       vii.    Banco Bilbao Vizcaya Argentaria (BBVA)

       112.    BBVA is a multinational financial services company based in Madrid and Bilbao.

It was one of IBM’s first customers on the A2E IP model.

       113.    In January 2018, Defendant Suarez told Plaintiff that Hayden would be heading

up the BBVA engagement, working with the IBM Spanish team, and using A2E.

       114.    Plaintiff prepared extensively for the BBVA engagement, preparing a detailed

presentation incorporating his A2E trade secrets and based on BBVA corporate objectives.

       115.    After Plaintiff had presented all his research to the Spanish Team in January 2018,

Defendant Suarez told Plaintiff that “there had been a change of plans,” and that Plaintiff would

neither be leading the BBVA engagement nor participating in it.

       viii.   Rand Merchant Bank

       116.    Rand Merchant Bank (“RMB”) is the corporate and investment division

of FirstRand Bank, one of the largest financial institutions in South Africa.

       117.    In April 2018 Plaintiff received a call from the RMB Account Manager at IBM

asking Plaintiff to speak with RMB’s CIO. Based on Hayden’s review of RMB’s Strategies,

Plaintiff proposed an agenda.

       118.    Plaintiff prepared a slide deck using his A2E and shared it with the Account

Manager prior to presenting it to the CIO of RMB. According to the IBM Account Manager,

this led to the fastest approval of B&P Code for Hayden’s presentation that he had ever

witnessed.

       119.    Immediately after presenting the slide deck to the RMB CIO, the CIO asked

Plaintiff to come to South Africa to present to his Board of Directors.




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          120.   Plaintiff informed the IBM Account Manager and Defendant Suarez of these

developments.

          121.   At this point Plaintiff was cut out of the RMB engagement, and Defendants

Suarez and Ramamurthy took a sudden trip to South Africa to meet with RMB.

          122.   When Plaintiff called the IBM Account Manager to follow up, his calls were not

returned.

          ix.    Equifax

          123.   Equifax Inc. is one of the largest consumer credit reporting agencies in the United

States.

          124.   On behalf of IBM, Plaintiff had been pursuing an engagement with Equifax that

contemplated optimizing Equifax’s systems using a platform organized according to A2E

Platform principles. Upon Hayden presenting the A2E Platform Strategy to the head of Equifax

Corporate Strategy, Equifax purchased $95 million dollars in Computing Services and they

revamped portions of their corporate strategy based on A2E principles.

          125.   Plaintiff and Bingham had been working on the Equifax engagement for several

months when Thomas Torf, the Global Leader for Cognitive Analytics, Enterprise Applications

at IBM, wanted to get involved. Torf was a member of GBS and his role was to coordinate

activities between GBS and Watson. Torf was hired by Defendant Ramamurthy.

          126.   Based on Torf’s role, Plaintiff and Bingham met with Torf for two days in

Chicago to teach him the A2E methodology to align the GBS and Watson Divisions and

incorporate Watson into the A2E platform design.




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         127.   At this time, IBM was partnering with AML Partners to build reference

architectures for Equifax and to solidify the Partnership and Architectures between Equifax and

AML Partners.

         128.   ALM Partners, together with Plaintiff and his team, was scheduled to meet with

Equifax on May 21 and 22, 2018. The purpose of the meeting was to identify the Equifax Credit

Bureau data elements that could be used in Customer-Centric Risk Management according to

A2E principles and within the AML Partners’ Platform, as the IBM Manager declined to fund it.

         129.   Torf wanted to participate in the meeting, and he was permitted to do so.

         130.   Plaintiff and Bingham, together with key Equifax executives and AML Partners,

had spent two weeks developing the agenda for the meeting.

         131.   Torf had been given an opportunity to provide input into the agenda, but did not

do so.

         132.   On the second day of meetings, Torf barred AML Partners from the meeting on

the pretext that AML Partners did not have a NDA with IBM. This was not true, as Torf was

informed. A meeting was held with Torf with Plaintiff, Bingham, and the CEO of AML Partners.

In fact Hayden confirmed the NDA between IBM and AML Partners was signed nine months

prior.

         133.   Torf proceeded to have AML Partners kicked out of their own Equifax Partner

Meeting, claiming he was the highest ranking IBM Employee and could do so - and knowingly

lied to Equifax Executives. Torf later privately and secretly met with Equifax, taking both AML

Partners Data Strategy and the A2E IP the whole project was based on, and told Jeff Schwartzel,

the Head of Equifax Partnerships, that GBS would not be involved and only Watson would be




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working with them. Defendant Ramamurthy managed the Watson Platform Strategy Group, and

cut out GBS and the Plaintiff.

       134.    Ultimately, Equifax entered into a partnership with IBM. Nevertheless, Plaintiff

and his colleagues Bingham and Cohen were excluded from these negotiations and denied credit

for the transaction even though A2E was used by Torf and IBM as a driver to achieve this

partnership with Equifax.

       x.      Asian Infrastructure Investment Bank

       135.    The Asian Infrastructure Investment Bank (“AIIB”) was formed by the People’s

Republic of China and currently has over 100 member states around the world. The AIIB is seen

as a potential rival to the World Bank and the International Monetary Fund.

       136.    Plaintiff was working directly with the chairperson, CEO, and the other most

senior executives at AIIB and developed first phase deliverables based on Plaintiff’s A2E.

       137.    Nonetheless, Defendant Suarez gave the project to another IBM employee, Juan

Powell, and excluded Plaintiff from the engagement when it came down to specifics for a

Commercial Loan System Platform for a Development Bank.

       138.    Prior to the engagement’s reassignment to Powell, Plaintiff had documented the

AIIB deliverables, reflecting Plaintiff’s A2E. Defendant Suarez turned them over to Powell.

       139.    Plaintiff received no credit for his work on the Development Bank Loan System

requirements for the AIIB project. Instead, Powell did.

       xi.     FifthThird Bank (Cincinnati)

       140.    Based on the reputation Plaintiff had developing within IBM for the value of his

A2E trade secrets, Plaintiff received a call from the GBS lead for Fifth Third Bank, who wanted

Hayden to meet with the Bank’s senior level executives. Plaintiff agreed to do so.


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       141.     After meeting with the Fifth Third executives, Plaintiff was asked to produce a

Memorandum of Understanding (“MOU”) defining deliverables and requirements.                       As

requested, Plaintiff prepared an MOU providing an overview of how IBM would address the

Bank’s needs.

       142.     The IBM account manager for Fifth Third informed Plaintiff after the fact that a

competitor, TATA, had already been awarded the Technology development part of the

engagement.

       143.     This meant that, if IBM won the Consulting lead, Plaintiff would have to give his

A2E IP to a competitor.

       144.     In order to protect his IP, Plaintiff did not follow up on the potential engagement.

       145.     When Plaintiff told his boss, Defendant Suarez, Suarez became angry and told

Plaintiff that he should have pursued the deal anyway.

                D.     IBM Wrongfully Terminates Plaintiff.

       146.     In July 2018, Defendant Suarez told Plaintiff that things were not “working out”

at GBS, and that Plaintiff would need to look for employment within another division at IBM or

he would have to be terminated.

       147.     On July 22, 2018, Defendant Suarez called Plaintiff and stated that Plaintiff’s

position was being eliminated. Defendant Suarez also indicated he would be having the same

conversation with Steven Cohen, the new Partner who would be heading up the A2E Platform

practice. Cohen also filed a written request for the need for advice to the Head of IBM HR

Diane Gherson, as well as the Head of the IBM Ethics Committee, on the subject of stolen A2E

IP and other unlawful conduct within the Company.

       148.     When Plaintiff was unable to find another position elsewhere within IBM, he was

terminated in October 2018.
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        149.    Plaintiff was falsely told by Defendants that his position was being eliminated

because “there was not enough work.”

        150.    On the contrary, the CEO of AML Partners told Plaintiff there was enough work

to keep him fully engaged for at least the next year on the Ocean Bank deal alone.

        151.    In reality, Plaintiff was terminated so that Defendants could continue the theft and

misappropriation of his intellectual property without further interference from Plaintiff, and

because Plaintiff had complained of other unlawful activities within IBM.

        152.    Just days before Plaintiff was to leave IBM, Defendant Ramamurthy demanded a

list of all customer prospects that Hayden was working on with AML Partners from Defendant

Suarez, even though Defendant Ramamurthy knew they were AML Partners contacts, not

IBM’s, and despite the fact that Defendant Ramamurthy was in the Watson Division.

        153.    Unexplained was why Ramamurthy, a high-ranking Watson executive, would

need a list of GBS prospects.

        154.    Despite this glaring irregularity, Defendant Suarez directed one of his

subordinates, Juan Powell, to obtain the prospect list for Defendant Ramamurthy.

        155.    The improper nature of Plaintiff’s termination is illustrated by IBM’s shifting

attempts to justify or explain it.

        156.    Initially, IBM told the Connecticut Department of Labor that Plaintiff was

terminated due to “lack of work.”

        157.    However, IBM then told OSHA, in response to a Sarbanes Oxley complaint filed

by Plaintiff, that Hayden had been fired due to a lack of skill.

        158.    Then IBM changed the justification again, claiming that Plaintiff couldn’t sell

anything – an obvious falsehood.


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                 E.     IBM Breaches the Agreement Regarding Confidential Information,
                        Intellectual Property, and Other Matters and Misappropriates
                        Hayden’s Trade Secrets.

          159.   From the moment that Defendants Suarez and Ramamurthy were informed and

trained in Hayden’s A2E methodology, they began a scheme to steal it. Defendant Ramamurthy

even formed a secret Committee to orchestrate stealing credit for IBM’s totally new IBM

company strategy that they now call, “ Business Process Platforms.”

          160.   Due to the actions of Defendants Suarez and Ramamurthy, as well other senior-

level executives at IBM, Plaintiff was repeatedly excluded from engagements involving the use

of his A2E, including National Australia Bank, DBS, OP Bank, Ocean Bank, Mizhuo, BBVA,

Rand Merchant Bank, Equifax, AIIB, and others, as detailed above.

          161.   Plaintiff’s trade secrets were also improperly shared with IBM’s Watson Division

(supervised by Defendant Ramamurthy), IBM Partner Fenergo, with IBM’s recently acquired

Red Hat subsidiary, and with third-parties such as Salesforce.com, Service Now, and many

others.

          162.   Following Plaintiff’s unlawful termination, IBM continued to aggressively exploit

and misappropriate Plaintiff’s A2E, using Plaintiff’s trade secrets to land deals with numerous

leading financial institutions as well as developing Partnership with Firms such as CRM

Magazine, American Banker, Financial Brand, LinkedIn and other media firms. IBM also

misappropriated Hayden’s A2E by incorporating the methodology, without Hayden’s knowledge

or consent, into its products and services, including but not limited to IBM Hybrid Cloud, IBM

Cloud for Financial Services, Cloud Pack 4 Data, IBM Cognitive Enterprise, Business Process

Platform, Salesforce, and consulting services, among others.

          163.   In addition, Plaintiff’s trade secrets were repeatedly disclosed to the public,

thereby destroying or dramatically reducing their value.
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                            i. IBM’s Repeated Public Disclosures of Plaintiff’s Trade
                               Secrets

       164.    A month after Hayden was terminated by IBM under the pretext of a “lack of

work”, Brian Murrow, Anthony Lipp and Kwafo Ofori-Boateng wrote and published public

white papers incorporating A2E concepts.

       165.    For instance, Brian Murrow’s white paper was posted on LinkedIn just days after

Plaintiff’s last day at IBM (October 15, 2018).

       166.    Murrow’s white paper was simply a rewrite of Plaintiff’s confidential November

2017 white paper, to which Murrow had access.

       167.    Murrow reported to Michael Henry and therefore had access to A2E, which had

been shared and improperly used by Henry.

       168.    Lipp’s and Ofori-Boateng’s white papers were also released within approximately

a week of Plaintiff’s last day at IBM.

       169.    Aside from sometimes using slightly different language (e.g., “Customer-centric”

becomes “Customer Experience”), all of these white papers incorporate and reflect Plaintiff’s

major A2E concepts and intellectual property.

       170.    One of Plaintiff’s contacts at AML Partners saw Murrow’s published white paper

on LinkedIn, and recognizing the A2E content, sent it to Hayden.

       171.    Plaintiff wrote a cease and desist letter to Diane Gherson, the Senior Vice

President of Human Resources at IBM, requesting that IBM stop the disclosure of Plaintiff’s

trade secrets. Gherson never replied.

       172.    Plaintiff also requested that none of his A2E content be used at IBM’s Think 2019

conference, then a few months away. Think is the Company's premier client and developer



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conference attended by many thousands including IBM Partners, vendors, and the press and

media.

         173.   Despite Plaintiff’s request, IBM’s Chairperson, CEO, and President, Virginia

Rometty, basically read major aspects of A2E IP from Plaintiff’s “Future Financial Performance

of Banking” white paper during her kick-off speech at Think 2019.

         174.   Similarly, IBM senior executives continued to publish articles, books and white

papers disclosing Plaintiff’s A2E, a breach of IBM’s agreement to keep Plaintiff’s trade secrets

confidential that continues to this day.

         175.   For instance, in December 2019, Sarah Diamond, IBM’s Global Managing

Director for Banking and Financial Markets, published an article that lifted statements directly

from Plaintiff’s confidential “Future Financial Performance in Banking” white paper and

Hayden’s confidential master A2E slide deck, both of which Diamond had in her possession.

Thus, Diamond – an extremely high-ranking IBM executive – also knowingly disclosed

Plaintiff’s protected intellectual property and trade secrets.

         176.   Defendant Suarez also published a white paper in February 2020. The Suarez

white paper incorporated much of the same content from the presentation materials that Plaintiff

had prepared using A2E concepts for the BBVA engagement approximately two years before

and the National Australian Bank engagement approximately four years before. Defendant

Suarez had access to these confidential materials and then publicly disclosed Plaintiffs’ trade

secret information contained therein.

         177.   In another example, Forbes magazine ran an article in July 2020 on IBM’s

“Integrated Risk Model,” a concept that is described in detail in Plaintiff’s November 2017 white

paper.


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       178.    Yet the article states that IBM only began work on the model in the fall of 2019,

two years after Plaintiff’s A2E white paper.

       179.    On July 30, 2020, Red Hat released a video that incorporated Plaintiff’s trade

secrets as set forth in his A2E master slide deck, Plaintiff’s white papers, the presentation for

National Australian Bank, and the papers prepared by Plaintiff for BBVA.

       180.    The Red Hat video was also posted on LinkedIn on July 30, 2020.

       181.    Notably, none of the individuals listed as the authors of the Red Hat video has a

banking background.

       182.    Another vehicle for the intentional disclosure of Plaintiff’s A2E trade secrets has

been IBM’s “Institute for Business Value.” A number of publications of the Institute for

Business Value are directly based on A2E, including publications “authored” by Defendants

Ramamurthy and Suarez, and Anthony Lipp, all of whom had access to Plaintiff’s A2E master

deck, white papers, and client presentations.

                      ii.     Partnership with Wells Fargo

       183.    In November 2019, IBM announced a strategic partnership with Wells Fargo

concerning artificial intelligence and quantum computing.

       184.    Wells Fargo’s Head of Innovation, Lisa Frazier, issued a press release about this

partnership which included references to A2E concepts.

       185.    In particular, Frazier’s press release makes several of the very same points as are

contained in Plaintiff’s “Future Financial Performance in Banking” white paper.

       186.    IBM’s Bill Fuessler claimed credit for this sale. Fuessler was a very senior IBM

executive who Plaintiff trained for several hours on A2E in New York City. Bingham and

Cohen also participated in the meeting with Fuessler. Fuessler had even met with Defendants


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Suarez and Ramamurthy along with Hayden, Bingham and Cohen to gain Funding for the A2E

Platform Strategy and they declined, as it turns out because they had decided already to steal it

for free and make it their own.

          187.   Plaintiff received a report of the Wells Fargo deal from a colleague who saw the

report and recognized Plaintiff’s IP.

          188.   Plaintiff emailed Fuessler and the head of Human Resources at IBM, Diane

Gherson, advising IBM to cease and desist unauthorized use of A2E. The unauthorized use

however, continued unabated.

                        iii.   IBM’s Hybrid Cloud

          189.   IBM’s Hybrid Cloud, which the Company has stated will be IBM’s leading

source of revenue and profitability in the future, is another A2E derivative.

          190.   Prior to Hayden’s involvement, all that IBM had was a limited private cloud

model being ranked 4th in Cloud Market Share and ranked 6th in Capabilities by a third party

source.

          191.   Hayden taught IBM the necessity of employing A2E through connectivity with

numerous data centers belonging to different parties, also known as Hybrid Cloud.

          192.   As a result of Hayden’s trade secrets, IBM bought a Hybrid Cloud company and

then built Cloud Pack 4 Data which in IBM’s own words was “A First in Global Financial

Services History.”

          193.   With a Hybrid Cloud model, numerous data centers (and their data) can be

connected as outlined in A2E through IBM’s cloud architecture. This effectively puts IBM at the

crossroads of massive amounts of intra-organizational and inter-organizational data processing




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and data exchanges, enabling IBM to capitalize like a toll bridge, under its billing model that

charges customers based on the number of processed data transactions.

       194.    IBM markets its Hybrid Cloud product to banks and financial service institutions

as IBM Cloud Pack 4 Data, again an A2E derivative.

       195.    It is estimated that IBM’s Hybrid Cloud products are generating billions of dollars

in sales revenue for IBM.

                       iv.    Other Examples of IBM’s Ongoing Misappropriation of
                              Plaintiff’s IP

       196.    Since unlawfully terminating Plaintiff, IBM has aggressively moved to profit

from his A2E trade secrets.

       197.    For instance, IBM has already entered into deals worth hundreds of millions of

dollars with Bank of America, BBVA Spain, and WestPac Australia, among others, all

exploiting Plaintiff’s A2E.

       198.    Utilizing Plaintiff’s trade secrets improperly divulged by IBM, Bank of America

has been filing patents relating to aspects of A2E.


       V.      CAUSES OF ACTION

                                           Count 1
                                   Defend Trade Secrets Act
                                    18 U.S.C. § 1831, et seq.

       199.    Plaintiff realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       200. The Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1832, criminalizes the
following conduct:

               (a)     Whoever, with intent to convert a trade secret, that is
               related to a product or service used in or intended for use in
               interstate or foreign commerce, to the economic benefit of anyone

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                other than the owner thereof, and intending or knowing that the
                offense will, injure any owner of that trade secret, knowingly –

                  (1) steals, or without authorization, appropriates, takes, carries
                  away, or conceals, or by fraud, artifice, or deception obtains such
                  information;

                  (2) without authorization copies, duplicates, sketches, draws,
                  photographs, downloads, uploads, alters, destroys, photocopies,
                  replicates, transmits, delivers, sends, mails, communicates or
                  conveys such information;

                  (3) receives, buys, or possesses such information, knowing the
                  same to have been stolen or appropriated, obtained, or converted
                  without authorization;

                  (4) attempts to commit any offense described in paragraphs (1)
                  through (3); or

                  (5) conspires with one or more persons to commit any offense
                  described in paragraphs (1) through (3), and one or more of such
                  persons do any act to effect the object of the conspiracy,

                shall, except as provided in subsection (b), be fined under this title
                or imprisoned not more than 10 years, or both.

                (b) Any organization that commits any offense described in
                subsection (a) shall be fined not more than the greater of
                $5,000,000 or 3 times the value of the stolen trade secret to the
                organization, including expenses for research and design and other
                costs of reproducing the trade secret that the organization has
                avoided.

        201.    The prohibitions of the DTSA apply to conduct occurring within and outside the

United States if (1) the offender is a natural person who is a citizen or permanent resident alien

of the United States, or an organization organized under the laws of the United States or a State

or political subdivision thereof; or (2) an act in furtherance of the offense was committed in the

United States. 18 U.S.C. § 1837.

        202.    The DTSA authorizes the owner of a trade secret that is misappropriated to bring

a civil action to defend it if the trade secret is related to a product or service used in, or intended

for use in, interstate or foreign commerce. 18 U.S.C. § 1836(b).
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          203.   Hayden created and developed A2E and EERT before joining IBM.

          204.   A2E is an advanced methodology that takes separate and serial workflows from

any business or industry and makes them integrated, simultaneous and real-time customer level

executable.

          205.   EERT is a measurement rubric used to measure the efficacy and efficiencies

generated by implementing the A2E methodology.

          206.   Hayden’s A2E methodology is related to products or services intended for use in

interstate or foreign commerce.

          207.   The Individual Defendants are citizens or permanent resident aliens of the United

States.

          208.   IBM is an organization and a Delaware corporation, with its principal place of

business in the State of New York.

          209.   By virtue of the acts alleged herein, Defendants have knowingly stolen Hayden’s

A2E methodology in violation of 18 U.S.C. § 1832(a).

          210.   By virtue of the acts alleged herein, Plaintiff has suffered substantial monetary

damages, including but not limited to lost salary and bonuses, lost business opportunities, and

lost royalties and profits from the exploitation of his trade secrets.

          211.   As a result of Defendants’ acts, Plaintiff has been damaged, and continues to be

damaged, in a substantial amount to be determined at trial, and is entitled to penalties of at least

$2 billion for each and every violation of 18 U.S.C. § 1831 arising from Defendants’ unlawful

conduct as described herein.




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                                            Count 2
                                 Trade Secret Misappropriation
                                   (New York Common Law)

        212.    Plaintiff realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

        213.    The elements of a cause of action to recover damages for trade secret

misappropriation under New York law are: (1) possession of a trade secret; and (2) use of that

trade secret by the defendant in breach of an agreement, confidential relationship or duty, or as a

result of discovery by improper means.

        214.    Plaintiff created and developed A2E and EERT before returning to IBM.

        215.    When Plaintiff rejoined IBM, he executed a Confidential IP Agreement, that put

IBM on notice of Hayden’s possession of his A2E and EERT trade secrets and his right, title and

interest thereto.

        216.    After Hayden was terminated from his employment with IBM, Defendants used

Hayden’s A2E and EERT trade secrets to develop and market products and services to

customers.

        217.    Plaintiff never authorized Defendants to use his A2E and EERT trade secrets.

        218.    Defendants used Hayden’s A2E and EERT trade secrets in violation of the

Confidential IP Agreement when it authored and developed products and services incorporating

the A2E methodology and EERT rubric.

        219.    As a result of Defendant’s misappropriation of Hayden’s A2E methodology and

EERT rubric, Hayden has been deprived of royalties, and the value of his trade secrets has been

diminished by virtue of Defendants’ dissemination of these trade secrets to third parties.




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                                           Count 3
                                      Breach of Contract
                                   (New York Common Law)

       220.    Plaintiff realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       221.    After Plaintiff rejoined IBM, he executed a Confidential IP Agreement on

November 2, 2015.

       222.    Hayden executed the Confidential IP Agreement as a condition of and in

consideration for his employment with IBM.

       223.    The Confidential IP Agreement expressly reserved Plaintiff’s right, title and

interest in A2E and EERT, methodologies he conceived and developed prior to rejoining IBM.

       224.    The Confidential IP Agreement excluded Hayden’s A2E and EERT trade secrets

from IBM’s use and ownership.

       225.    After Hayden was terminated from his employment with IBM, Defendants used

Hayden’s A2E and EERT trade secrets to develop and market products and services to

customers.

       226.    Plaintiff never authorized Defendants to use his A2E and EERT trade secrets.

       227.    Defendants used Hayden’s A2E and EERT trade secrets in breach of the

Confidential IP Agreement when it authored and developed products and services incorporating

the A2E methodology and EERT rubric.

       228.    As a result of Defendant’s breach of the Confidential IP Agreement, Hayden has

been damaged by being deprived of royalties, and the value of his trade secrets has been

diminished by virtue of Defendants’ dissemination of these trade secrets to third parties.




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                                           Count 4
                     Breach of the Covenant of Good Faith and Fair Dealing
                                   (New York Common Law)

       229.      Plaintiff realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       230.      Defendants knew that Hayden had reserved his rights, title and interest to his A2E

and EERT trade secrets.

       231.      When Defendants realized the value of A2E and EERT to develop products and

services, Defendant formed a scheme to steal these secrets and fire Hayden to deprive him of any

compensation or remuneration for their use.

       232.      After terminating Hayden’s employment, Defendants employed A2E and EERT

trade secrets to develop products and services that they sold to customers without Hayden’s

authorization.

       233.      Defendants terminated Hayden in bad faith to steal his trade secrets.

       234.      Defendants’ trade secret misappropriation and breach of the Confidential IP

Agreement constitutes a violation of the covenant of good faith and fair dealing.

       235.      As a result of Defendants’ violations of good faith and fair dealing, Plaintiff has

suffered damages.

                                             Count 5
                                        Unjust Enrichment
                                     (New York Common Law)

       236.      Plaintiff realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

       237.      Defendants were enriched by the use of Plaintiff’s A2E.

       238.      In the case of Defendant IBM, this unjust enrichment took the form of deals worth

many billions of dollars.
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        239.   The Individual Defendants were unjustly enriched by receiving bonuses and other

compensation directly resulting from the use of Plaintiff’s A2E.

        240.   Defendants’ enrichment was at Plaintiff’s expense, in that Defendants benefitted

from Plaintiff’s efforts and from the theft of his intellectual property without compensation to

Plaintiff.

        241.   It would be against equity and good conscience to permit Defendants to retain

what is sought to be recovered in this action.

                                           Count 6
                 Tortious Interference with Prospective Economic Advantage
                                  (New York Common Law)

        242.   Plaintiff realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.

        243.   Defendants interfered with Plaintiff’s economic prospects, including bonuses and

compensation, arising from numerous deals both before and after his termination from IBM;

these include without limitation National Australian Bank, DBS, OP Bank, JP Morgan Chase,

Ocean Bank, Mizuho, BBVA, Rand Merchant Bank, and Equifax, among others.

        244.   Defendants’ conduct was wrongful and culpable, and included the

misappropriation of Plaintiff’s protected trade secrets, as well as Plaintiff’s wrongful

termination.

        245.   Defendants’ wrongful conduct constitutes an independent tort.

                                             Count 7
                               Retaliatory Discharge - Sarbanes Oxley
                                      (18 U.S.C. § 1514A)

        246.   Plaintiff realleges and hereby incorporates by reference each and every allegation

contained in the preceding paragraphs of this Complaint.


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        247.    In connection with the occurrences and conduct set forth herein, Plaintiff

developed concerns that Defendant IBM was engaged in violations of the federal securities laws,

including “contact stuffing” and other attempts to mislead the markets concerning relating to

revenues attributed to IBM’s Watson division.

        248.    These concerns were reported to IBM.

        249.    On March 29, 2018, and as directed by Plaintiff’s Manager, Plaintiff filed a

written complaint with Michael Andrud, the Lead Bank Data & Cognitive Consulting Partner at

IBM.

        250.    After Plaintiff filed the Complaint, IBM retaliated against Plaintiff, unlawfully

terminating his employment.

        251.    When IBM retaliated against Plaintiff, IBM was aware that Plaintiff had engaged

in protected conduct pursuant to the Sarbanes-Oxley Act.

        VII.    PRAYER FOR RELIEF

        WHEREFORE, on each of these claims, Plaintiff requests the following relief be ordered:

        A.      A declaratory judgment that Defendants’ exploitation, misappropriation, or

disclosure of Plaintiff’s trade secrets, intellectual property, or ideas is unlawful;

        B.      An injunction against any further exploitation, misappropriation, or disclosure of

Plaintiff’s trade secrets, intellectual property, or ideas;

        C.      Compensatory and punitive damages, including but not limited to a share of

profits from IBM’s Hybrid Cloud platform and any and all related products and services

developed, marketed and/or sold with Plaintiff’s trade secrets, intellectual property, or ideas; and

        D.      Such other and further relief as the Court may deem just and proper.

        VIII. DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury as to all issues so triable.
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